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                 EXHIBIT 14
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(12) United States Patent                                              (io) Patent No.:     US 8,593,828 B2
       Blackwell, Jr. et al.                                           (45) Date of Patent:     Nov. 26, 2013

(54)   COMMUNICATIONS EQUIPMENT                                   (56)                    References Cited
       HOUSINGS, ASSEMBLIES, AND RELATED
       ALIGNMENT FEATURES AND METHODS                                                U-S- PATENT DOCUMENTS
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(75)   Inventors: Chois A. Blackwell, Jr., North Richland                2,614,685    A    10/1952   Miller
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( * ) Notice:      Subject to any disclaimer, the term of this    CA                  2029592 A l      5/1992
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       US 2011/0188220 Al          Aug. 4, 2011                   (57)                     ABSTRACT
                                                                  Communications system housings, assemblies, and related
                                                                  alignment features and methods are disclosed. In certain
                Related U.S. Application Data
                                                                  embodiments, communications cards and related assemblies
(60)   Provisional application No. 61/301,495, filed on Feb.      and methods that include one or more alignment features are
       4, 2010, provisional application No. 61/301,488, filed     disclosed. In certain embodiments, at least one digital con­
       on Feb. 4, 2010, provisional application No.               nector disposed in the communications card is configured to
       61/316,584, filed on Mar. 23, 2010, provisional            engage at least one complementary digital connector to align
       application No. 61/316,591, filed on Mar. 23, 2010.        at least one RF connector also disposed in the communica­
                                                                  tions card with at least one complementary RF connector. In
                                                                  other embodiments, printed circuit board (PCB) assemblies
(51) Int.Cl.                                                      are disclosed that include a moveable standoff to provide an
     H0SK 7/02                     (2006.01)                      alignment feature. In other embodiments, distributed antenna
     H0SK 7/04                     (2006.01)                      systems and assemblies that include one or more alignment
(52) U.S. Cl.                                                     features are disclosed. In certain embodiments, an enclosure
     USPC ........................... 361/810; 361/748; 361/720   is provided that includes a midplane support configured to
(58) Field of Classification Search                               support a midplane interface card in a datum plane for estab­
     USPC ................ 361/720, 741, 748, 760, 807, 810;      lishing at least one connection to at least one distributed
                        439/98, 378, 579, 916; 343/702, 906       antenna system component.
     See application file for complete search history.                               30 Claims, 42 Drawing Sheets
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                                                                      FIG 12
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                                    FIG 17
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                                      FIG. 18
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                                                                    FIG. 2 1
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                                                                  FIG. 2 2
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                             FIG. 2 5
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                                       FIG. 2 8
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                                  FIG. 31

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                                   FIG. 3 3
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                                                    US 8,593 ,828 B2
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        COMMUNICATIONS EQUIPMENT                                    nicate RF signals back to an antenna in the remote antenna
     HOUSINGS, ASSEMBLIES, AND RELATED                              unit, which are communicated back on a communication
     ALIGNMENT FEATURES AND METHODS                                 uplink to the head-end communication equipment and onto
                                                                    the network. The head-end communication equipment may
                 RELATED APPLICATIONS                             5 be configured to convert RF signals into optical fiber signals
                                                                    to be communicated over optical fiber to the remote antenna
   This application is related to U.S. Provisional Patent Appli­    units.
cation Ser. No. 61/301,495 filed Feb. 4,2010 entitled “Modu­           It may be desirable to provide a housing or enclosure for
lar Distributed Antenna System Equipment Housings,                  communication equipment for a distributed antenna system
Assemblies, And RelatedAlignment Feature,” which is incor- to that is easily assembled. Thus, the housing or enclosure can
porated herein by reference in its entirety.                        be easily assembled in the field. Further, it may further be
   This application is also related to U.S. Provisional Patent      desirable to provide communication equipment for a distrib­
Application Ser. No. 61/301,488 filed Feb. 4, 2010 entitled         uted antenna system that is compatible with expansion of
“Modular Distributed Antenna System Equipment Housings,             picocells. Thus, it may be desirable to provide communica­
Assemblies, And RelatedAlignment Feature,” which is incor- 15 tion equipment for a distributed antenna system that can be
porated herein by reference in its entirety.                        easily upgraded or enhanced to support an increased number
   This application is also related to U.S. Provisional Patent      of remote antenna units, as an example. It may be further
Application Ser. No. 61/316,584 filed Mar. 23, 2010 entitled        desired to allow technicians or other users to provide this
“Modular Distributed Antenna System Equipment Housings,             increased support in the field, thus making it desirable to
Assemblies, And RelatedAlignment Feature,” which is incor- 20 allow equipment changes and upgrades to easily be made in
porated herein by reference in its entirety.                        the communication equipment with ease and proper function.
   This application is also related to U.S. Provisional Patent
Application Ser. No. 61/316,591 filed Mar. 23, 2010 entitled             SUMMARY OF THE DETAILED DESCRIPTION
“Modular Distributed Antenna System Equipment Housings,
Assemblies, And RelatedAlignment Feature,” which is incor- 25          Embodiments disclosed in the detailed description include
porated herein by reference in its entirety.                        communications equipment housings, assemblies, and
   This application is also related to U.S. patent application      related alignment features and methods. The equipment may
Ser. No. 12/751,895 entitled “Optical Interface Cards,              be distributed antenna equipment. In one embodiment, a
Assemblies, and Related Methods, Suited For Installation            communications card is provided. The communications card
and Use In Antenna System Equipment,” which is incorpo- 30 may be a communications card for an optical fiber-based
rated herein by reference in its entirety.                          communications system as a non-limiting example. The com­
                                                                    munications card in this embodiment comprises a printed
                        BACKGROUND                                  circuit board (PCB) having a first end and a second end
                                                                    opposite the first end. At least one radio-frequency (RF) com­
   1. Field of the Disclosure                                    35 munications component and at least one digital communica­
   The technology of the disclosure relates generally to enclo­     tions component are disposed in the PCB. Further, at least one
sures for housing distributed antenna system equipment pro­         radio-frequency (RF) connector is provided and disposed at
vided in a distributed antenna system. The distributed antenna      the first end of the PCB and coupled to the at least one RF
system equipment can include optical fiber-based distributed        communications component. At least one digital connector is
antenna equipment for distributing radio frequency (RF) sig- 40 disposed at the first end of the PCB and coupled to the at least
nals over optical fiber to remote antenna units.                    one digital communications component. The at least one digi­
   2. Technical Background                                          tal connector is configured to engage at least one complemen­
   Wireless communication is rapidly growing, with ever-            tary digital connector to align the at least one RF connector
increasing demands for high-speed mobile data communica­            with at least one complementary RF connector, prior to the at
tion. As an example, so-called “wireless fidelity” or “WiFi” 45 least one RF connector engaging the at least one complemen­
systems and wireless local area networks (WLANs) are being          tary RF connector.
deployed in many different types of areas (e.g., coffee shops,         In another embodiment, a communications assembly is
airports, libraries, etc.). Wireless communication systems          provided. The communications assembly comprises a com­
communicate with wireless devices called “clients,” which           munications board having a first end and a second end oppo­
must reside within the wireless range or “cell coverage area” 50 site the first end. The communications board includes at least
in order to communicate with an access point device.                one radio-frequency (RF) connector disposed at the first end
   One approach to deploying a wireless communication sys­          of the communications board, and at least one digital connec­
tem involves the use of “picocells.” Picocells are radio fre­       tor disposed at the first end of the communications board. The
quency (RF) coverage areas. Picocells can have a radius in the      communications assembly further comprises an interface
range from a few meters up to twenty meters as an example. 55 printed circuit board (PCB) card. The at least one digital
Combining a number of access point devices creates an array         connector is configured to engage at least one complementary
of picocells that cover an area called a “picocellular coverage     digital connector disposed in the interface PCB card to align
area.” Because the picocell covers a small area, there are          the at least one RF connector with at least one complementary
typically only a few users (clients) per picocell. This allows      RF connector disposed in the interface PCB card, prior to the
for minimizing the amount of RF bandwidth shared among 60 at least one RF connector engaging the at least one comple­
the wireless system users. In this regard, head-end commu­          mentary RF connector.
nication equipment can be provided to receive incoming RF              In another embodiment, a method of aligning communica­
signals from a wired or wireless network. The head-end com­         tions connectors disposed in a communications card is pro­
munication equipment distributes the RF signals on a com­           vided. The method includes providing a communications
munication downlink to remote antenna units distributed 65 card having a first end and a second end opposite the first end.
throughout a building or facility. Client devices within range      The method also includes initially engaging at least one digi­
of the picocells can receive the RF signals and can commu­          tal connector disposed at the first end of the communications
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card with at least one complementary digital connector prior                FIG. 2 is an exemplary schematic diagram of an exemplary
to engagement of at least one radio-frequency (RF) connector             head-end communications unit (“HEU”) deployed in the dis­
disposed at the first end of the communications card to align            tributed antenna system in FIG. 1;
the at least one RF connector with at least one complementary               FIG. 3 is an exemplary distributed antenna system equip­
RF connector. The method also includes further engaging the         5    ment housing assembly (“assembly”) and enclosure config­
at least one digital connector with the at least one RF connec­
                                                                         ured to support the HEU of FIG. 2;
tor aligned to the at least one complementary RF connector to
further engage the at least one RF connector with the at least              FIG. 4 is an exemplary optical interface module (OIM)
one complementary RF connector.                                          comprised of a pair of optical interface cards (OIC) config­
   In another embodiment, a printed circuit board (PCB)                  ured to be installed in the distributed antenna system equip­
assembly is provided. The PCB assembly comprises a first                 ment housing assembly of FIG. 3 as part of the HEU;
PCB including one or more first openings disposed through                   FIG. 5 is a front view of the enclosure of FIG. 3 with a
the first PCB, and wherein the first PCB connects to an assem­           midplane interface card of the HEU of FIG. 2 installed
bly. The PCB assembly also comprises a second PCB includ­                therein;
ing one or more second openings disposed through the second                 FIG. 6 is a rear side perspective view of the enclosure of
PCB, and wherein the second PCB connects to the assembly.           15
                                                                         FIG. 3 with the midplane interface card of FIG. 5 installed on
A standoff is also provided in the PCB assembly that connects
the first PCB to the second PCB, wherein the second PCB                  a midplane support installed therein;
connects to the assembly and wherein the standoff allows the                FIG. 7 is a close-up front, right side perspective view of the
first PCB to float with respect to the second PCB to align the           midplane interface card of FIG. 5 installed on a midplane
first PCB in the assembly prior to the first PCB connecting to     20    support installed in the enclosure of FIG. 3;
the assembly.                                                               FIG. 8 illustrates a front side of the midplane interface card
   In another embodiment, a distributed antenna system                   of FIG. 5 without connectors attached to the midplane inter­
assembly is provided that includes at least one first plate              face card;
including at least one first locating alignment slot. The enclo­            FIG. 9 illustrates a rear view of the enclosure of FIG. 3 with
sure also includes at least one second plate connected to the at   2s    a downlink base transceiver interface (BTS) card (BIC) being
least one first plate to form an enclosure, wherein the at least
                                                                         inserted into the enclosure and an uplink BIC fully inserted
one second plate includes at least one second locating align­
ment slot. A midplane support is also provided and configured            into the enclosure and connected to the midplane interface
to support a midplane interface card in a datum plane for                card disposed in the enclosure;
establishing at least one connection to at least one distributed            FIGS. 10A and 10B illustrate front and rear perspective
antenna system component. The midplane support includes at               views, respectively, of BIC assemblies that can be inserted in
least two integral locating tabs for engaging the at least one           the enclosure of FIG. 3 with the BIC disposed in the assem­
first locating alignment slot and the at least one second locat­         blies connected to the midplane interface card disposed in the
ing alignment slot to align the midplane support in at least two         enclosure of FIG. 3;
dimensions with respect to the at least one first plate and the             FIG. 11 illustrates a bottom view of the BIC assembly of
at least one second plate. In this manner, when a distributed      35    FIGS. 10A and 10B;
antenna system component is alignedly attached to the mid­
plane support, the distributed antenna system component is                  FIG. 12 illustrates a top view of the BIC assembly of FIGS.
also properly aligned with the enclosure by alignment of the             10 and 10B installed in the enclosure of FIG. 3;
midplane support to the enclosure for aligned connections.                  FIG. 13 is a side perspective view of the assembly of FIG.
   Embodiments disclosed in the detailed description also          40    3 with downlink BIC connectors for the downlink BIC and
include modular distributed antenna system equipment hous­               uplink BIC connectors for the uplink BIC disposed in down­
ings, assemblies, and related alignment features. In one                 link and uplink BIC connector plates, respectively, which are
embodiment, a modular distributed antenna system assembly                attached to the front of the enclosure;
is disclosed. The assembly includes at least one first plate                FIG. 14 is a front perspective view of the BIC connector
including at least one first locating alignment slot. The assem-   45    plate illustrated in FIG. 13 with BIC connectors disposed
bly also includes at least one second plate including at least           therethrough;
one locating tab. The at least one locating tab engages with the            FIG. 15 is a rear perspective view of the BIC connector
at least one first locating alignment slot to align the at least         plate with BIC connectors disposed therethrough illustrated
one first plate in at least two dimensions to the at least one           in FIG. 14;
second plate to form an enclosure configured to support at         50       FIG. 16 is a rear side perspective view of the enclosure of
least one distributed antenna system component.                          FIG. 13 illustrating cables connected to the BIC connectors
   It is to be understood that both the foregoing general                disposed through the BIC connector plates routed through
description and the following detailed description present               openings in the midplane support to the downlink BIC and
embodiments, and are intended to provide an overview or                  uplink BIC disposed in the enclosure;
framework for understanding the nature and character of the        55       FIG. 17 is a top view of the enclosure of FIG. 13 illustrating
disclosure. The accompanying drawings are included to pro­               cables connected to the BIC connectors disposed through the
vide a further understanding, and are incorporated into and              BIC connector plates routed through openings in the mid­
constitute a part of this specification. The drawings illustrate         plane support to the downlink BIC and uplink BIC disposed
various embodiments, and together with the description serve             in the enclosure;
to explain the principles and operation of the concepts dis-        60      FIG. 18 is a front exploded perspective view of plates of the
closed.                                                                  enclosure of FIG. 3 that are assembled together in a modular
                                                                         fashion to form the enclosure;
        BRIEF DESCRIPTION OF THE FIGURES                                    FIGS. 19A and 19B illustrate top and bottom perspective
                                                                         views of the enclosure of FIG. 3;
   FIG. 1 is a partially sch em atic cu t-aw ay diagram o f an 65           FIG. 20 illustrates a close-up view of the engagement of the
exem p lary b u ild in g and b u ild in g infrastructure in w h ic h a   top plate of the enclosure in FIG. 3 with a side plate and
distributed antenna sy stem is em p loyed ;                              midplane support of the enclosure of FIG. 3;
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   FIG. 21 illustrates a close-up view of locating tabs dis­             FIG. 40 is a rear perspective view of the enclosure of FIG.
posed in the top plate of the enclosure of FIG. 3 engaged with        35 illustrating the air outlet from the upper plenum of the
alignment slots disposed in the side plate of the enclosure of        enclosure with the top plate of the enclosure removed and
FIG. 3;                                                               illustrating openings in the upper plenum plate into the uplink
   FIG. 22 is a side view of the OIM that can be disposed in the    5 BIC compartment of the enclosure; and
enclosure of FIG. 3;                                                     FIG. 41 is a top view of the uplink BIC with openings
   FIG. 23 is another perspective side view of the OIM that           disposed therein to allow air to flow from the downlink BIC to
can be disposed in the enclosure of FIG. 3;                           the uplink BIC disposed above the downlink BIC in the enclo­
   FIG. 24 is a rear perspective view of the OIM that can be          sure of FIG. 35.
                                                                   to
disposed in the enclosure of FIG. 3;
                                                                                       DETAILED DESCRIPTION
   FIG. 25 is a perspective view of an alignment block that
secures the OIC to an OIM plate of the OIM of FIGS. 23 and
                                                                         Reference will now be made in detail to the embodiments,
24;                                                                   examples of which are illustrated in the accompanying draw-
   FIG. 26A is a rear perspective view the OIM of FIGS. 23         15 ings, in which some, but not all embodiments are shown.
and 24 without shields installed;                                     Indeed, the concepts may be embodied in many different
   FIG. 26B is a rear perspective view the OIM of FIGS. 23            forms and should not be construed as limiting herein; rather,
and 24 with shield plates installed;                                  these embodiments are provided so that this disclosure will
   FIG. 27 is a close-up rear view of the OIM of FIGS. 23 and         satisfy applicable legal requirements. Whenever possible,
24 showing standoffs disposed between two printed circuit          20 like reference numbers will be used to refer to like compo­
boards (PCBs) of the OICs, wherein one of the PCBs is a               nents or parts.
floating PCB;                                                            Embodiments disclosed in the detailed description include
   FIG. 28 is a cross-sectional side view of the PCBs of the          equipment housings, assemblies, and related alignment fea­
OICs secured to each other via the standoffs of FIG. 27 to            tures and methods. The equipment may be distributed
provide one of the OIC PCBs as a floating PCB and the other        25 antenna equipment.
of the OIC PCBs as a fixed PCB;                                          Before discussing the exemplary distributed antenna sys­
   FIGS. 29A and 29B are perspective views of the floating            tem equipment, assemblies and enclosures and their align­
standoffs in FIG. 27;                                                 ment features, which start at FIG. 3, an exemplary distributed
   FIGS. 29C and 29D are side and top views, respectively, of         antenna system is first described with regard to FIGS. 1 and 2.
the standoffs of FIG. 31;                                          30 In this regard, FIG. 1 is a schematic diagram of a partially
   FIG. 30 is a side cross-sectional view of the standoff of          schematic cut-away diagram of a building 10 that generally
FIG. 27;                                                              represents any type of building in which a distributed antenna
   FIG. 31 is a side cross-sectional view of an alternative           system 12 might be deployed. The distributed antenna system
standoff that can be employed to secure the OIC PCBs and              12 incorporates a head-end communications unit or head-end
provide one of the OIC PCBs as a floating PCB;                     35 unit (HEU) 14 to provide various types of communication
   FIGS. 32A and 32B are side cross-sectional views of an             services to coverage areas within an infrastructure 16 of the
alternative standoff that can be employed to secure the OIC           building 10. The HEU 14 is simply an enclosure that includes
PCBs and shield plates and provide one of the OIC PCBs as             at least one communication component for the distributed
a floating PCB;                                                       antenna system 12. For example, as discussed in more detail
   FIG. 33 is a side view of the assembly of FIG. 3 showing an     40 below, the distributed antenna system 12 in this embodiment
OIC digital connector being connected to a complementary              is an optical fiber-based wireless communication system that
connector disposed in the midplane interface card to align the        is configured to receive wireless radio frequency (RF) signals
OIC RF connector to be connected to the complementary RF              and provide the RF signals as Radio-over-Fiber (RoF) signals
connector disposed in the midplane interface card;                    to be communicated over optical fiber 18 to remote antenna
   FIG. 34 is a top perspective view of an OIC disposed in the     45 units (RAUs) 20 distributed throughout the building 10. The
OIM of FIGS. 26A and 26B illustrating the extension of the            distributed antenna system 12 in this embodiment can be, for
OIC PCB of beyond transmitter optical sub-assemblies (TO-             example, an indoor distributed antenna system (IDAS) to
SAs) and receiver optical sub-assemblies (ROSAs) disposed             provide wireless service inside the building infrastructure 10.
in the OIC PCB;                                                       These wireless services can include cellular service, wireless
   FIG. 35 is a front perspective view of the assembly and         50 services such as radio frequency identification (RFID) track­
enclosure of FIG. 3 with a cooling fan protector plate installed      ing, wireless fidelity (WiFi), local area network (LAN), and
to protect a cooling fan installed in the enclosure;                  combinations thereof, as examples.
   FIG. 36 is a side cross-sectional view of the enclosure of            The terms “fiber optic cables” and/or “optical fibers”
FIG. 35 illustrating a cooling fan duct disposed behind the           include all types of single mode and multi-mode light
cooling fan in the enclosure to direct air drawn into the enclo­   55 waveguides, including one or more optical fibers that may be
sure by the cooling fan into a lower plenum of the enclosure;         upcoated, colored, buffered, ribbonized and/or have other
   FIG. 37 is an exemplary schematic diagram of air flow              organizing or protective structure in a cable such as one or
drawn into the enclosure by the cooling fan through the enclo­        more tubes, strength members, jackets or the like. Likewise,
sure of FIG. 35;                                                      other types of suitable optical fibers include bend-insensitive
   FIG. 38 is another side cross-sectional view of the enclo­      60 optical fibers, or any other expedient of a medium for trans­
sure of FIG. 35 illustrating the directing of air through open­       mitting light signals.An example of a bend-insensitive optical
ings in a lower plenum plate through OICs installed in the            fiber is ClearCurve® Multimode fiber commercially avail­
enclosure and through openings disposed in an upper plenum            able from Corning Incorporated.
plate in the enclosure;                                                  With continuing reference to FIG. 1, the infrastructure 16
   FIG. 39 is a rear perspective view of the enclosure of FIG.     65 includes a first (ground) floor 22, a second floor 24, and a third
35 illustrating an air outlet from the upper plenum of the            floor 26. The floors 22, 24, 26 are serviced by the HEU 14
enclosure;                                                            through a main distribution frame 28 to provide a coverage
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area 30 in the infrastructure 16. Only the ceilings of the floors        includes a number of exemplary distributed antenna system
22,24,26 are shown in FIG. 1 for simplicity of illustration. In          components. A distributed antenna system component can be
this example embodiment, a main cable 32 has a number of                 any component that supports communication for the distrib­
different sections that facilitate the placement of a large num­         uted antenna system, such as the distributed antenna system
ber of RAUs 20 in the infrastructure 16. Each RAU 20 in turn        5    12 of FIG. 1. For example, a head-end controller (F1EC) 42 is
services its own coverage area in the coverage area 30. The              included that manages the functions of the F1EU 14 compo­
main cable 32 can include, for example, a riser section 34 that          nents and communicates with external devices via interfaces,
carries all of the uplink and downlink optical fiber cables to           such as a RS-232 port 44, a Universal Serial Bus (USB) port
and from the F1EU 14. The main cable 32 can include one or               46, and an Ethernet port 48, as examples. The F1EU14 can be
more multi-cable (MC) connectors adapted to connect select          to   connected to a plurality of BTSs, transceivers, etc. at BIC
downlink and uplink optical fiber cables, along with an elec­            connectors 50, 52. BIC connectors 50 are downlink connec­
trical power line, to a number of optical fiber cables 36.               tors and BIC connectors 52 are uplink connectors. Each
   In this example embodiment, an interconnect unit 38 is                downlink BIC connector 50 is connected to a downlink BTS
provided for each floor 22, 24, and 26. The interconnect units           interface card (BIC) 54 located in the F1EU 14, and each
38 include an individual passive fiber interconnection of opti­     15   uplink BIC connector 52 is connected to an uplink BIC 56
cal fiber cable ports. The optical fiber cables 36 include               also located in the F1EU 14. The downlink BIC 54 is config­
matching connectors. In this example embodiment, the riser               ured to receive incoming or downlink RF signals from the
section 34 includes a total of thirty-six (36) downlink and              BTS inputs, as illustrated in FIG. 2, to be communicated to
thirty-six (36) uplink optical fibers, while each of the six (6)         the RAUs 20. The uplink BIC 56 is configured to provide
optical fiber cables 36 carries six (6) downlink and six (6)        20   outgoing or uplink RF signals from the RAUs 20 to the BTSs
uplink optical fibers to service six (6) RAUs 20. The number             as a return communication path.
of optical fiber cables 36 can be varied to accommodate                     The downlink BIC 54 is connected to a midplane interface
different applications, including the addition of second, third,         card 58. The uplink BIC 56 is also connected to the midplane
etc. HEUs 14.                                                            interface card 58. The downlink BIC 54 and uplink BIC 56
   According to one aspect, each interconnect unit 38 can           25   can be provided in printed circuit boards (PCBs) that include
provide a low voltage DC current to the electrical conductors            connectors that can plug directly into the midplane interface
in the optical fiber cables 36 for powering the RAUs 20. For             card 58. The midplane interface card 58 is also in direct
example, the interconnect units 38 can include an AC/DC                  electrical communication with a plurality of optical interface
transformer to transform 110V AC power that is readily avail­            cards (OICs) 60, which are in optical and electrical commu-
able in the infrastructure 16. In one embodiment, the trans­        30   nication with the RAUs 20 via the optical fiber cables 36. The
formers supply a relatively low voltage DC current of 48V or             OICs 60 convert electrical RF signals from the downlink BIC
less to the optical fiber cables 36. An uninterrupted power              54 to optical signals, which are then communicated over the
supply could be located at the interconnect units 38 and at the          optical fiber cable 36 to the RAUs 20. The OICs 60 in this
F1EU 14 to provide operational durability to the distributed             embodiment support up to three (3) RAUs 20 each.
antenna system 12. The optical fibers utilized in the optical       35      The OICs 60 can also be provided in a PCB that includes a
fiber cables 36 can be selected based upon the type of service           connector that can plug directly into the midplane interface
required for the system, and single mode and/or multi-mode               card 58 to couple the links in the OICs 60 to the midplane
fibers may be used.                                                      interface card 58. In this manner, the exemplary embodiment
   The main cable 32 enables multiple optical fiber cables 36            of the F1EU 14 is scalable to support up to thirty-six (36)
to be distributed throughout the infrastructure 16 (e.g., fixed     40   RAUs 20 since the F1EU 14 can support up to twelve (12)
to the ceilings or other support surfaces of each floor 22, 24           OICs 60. If less than thirty-four (34) RAUs 20 are to be
and 26) to provide the coverage area 30 for the first, second            supported by the F1EU 14, less than twelve OICs 60 can be
and third floors 22, 24 and 26. In this example embodiment,              included in the F1EU 14 and connected into the midplane
the F1EU 14 is located within the infrastructure 16 (e.g., in a          interface card 58. An OIC 60 is needed for every three (3)
closet or control room), while in another example embodi­           45   RAUs 20 supported by the F1EU14 in this embodiment. OICs
ment, the F1EU14 may be located outside of the building at a             60 can also be added to the F1EU 14 and connected to the
remote location. A base transceiver station (BTS) 40, which              midplane interface card 58 if additional RAUs 20 are desired
may be provided by a second party such as cellular service               to be supported beyond an initial configuration. In this man­
provider, is connected to the F1EU 14, and can be co-located             ner, the number of supported RAUs 20 by the F1EU 14 is
or located remotely from the F1EU14. A BTS is any station or        50   scalable and can be increased or decreased, as needed and in
source that provides an input signal to the F1EU 14 and can              the field, by simply connecting more or less OICs 60 to the
receive a return signal from the F1EU14. In a typical cellular           midplane interface card 58.
system, for example, a plurality of BTSs are deployed at a                  FIG. 3 illustrates an exemplary distributed antenna system
plurality of remote locations to provide wireless telephone              housing assembly 70 (referred to as “assembly 70”) that may
coverage. Each BTS serves a corresponding cell and when a           55   be employed to provide an F1EU, such as the F1EU14 in FIG.
mobile station enters the cell, the BTS communicates with the            2. An F1EU is simply at least one communications component
mobile station. Each BTS can include at least one radio trans­           provided in an enclosure or housing. As will be described in
ceiver for enabling communication with one or more sub­                  more detail below, the assembly 70 is modular. The assembly
scriber units operating within the associated cell.                      70 is configured to be easily assembled in a factory or in the
   The FlEUs 14 are host neutral systems in this embodiment         60   field by a technician. Further, the assembly 70 supports a
which can provide services for one or more BTSs 40 with the              number of features that allow interface cards to be easily
same infrastructure that is not tied to any particular service           inserted and aligned with respect to the midplane interface
provider. The F1EU 14 is connected to six (6) optical fiber              card 58 to ensure that proper connections are made with other
cables 36 in this embodiment.                                            components of the F1EU 14 that form part of the distributed
   FIG. 2 is a schematic diagram of the exemplary F1EU 14           65   antenna system, such as the distributed antenna system 12 in
provided in the distributed antenna system 12 of FIG. 1 to               FIG. 1, for example. As illustrated in FIG. 3, the assembly 70
provide further detail. As illustrated therein, the F1EU 14              includes an enclosure 72. The enclosure 72 is comprised of a
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bottom plate 74 (see also, FIG. 14B) and side plates 76A,                 interface card 58 with the enclosure 72 is effected when the
76B. An internal cavity 80 is formed in the space formed                  midplane interface card 58 is inserted in the enclosure 72.
inside the bottom plate 74 and the side plates 76A, 76B when              Thus, when the OIMs 84, the FiEC 42, and the downlink BIC
assembled together for locating components of the FiEU 14,                54 and uplink BIC 56 are properly and fully inserted into the
such as the components illustrated in FIG. 2, for example. A         5    enclosure 72, the alignment between these components and
top plate 82 can also be provided and secured to the side plates          the enclosure 72 effect proper aligned connections between
76A, 76B, as illustrated in FIG. 6, to protect the internal               connectors on these components (e.g., connectors 94) and the
cavity 80 and protect components of the FIEU 14 disposed                  midplane interface card 58. Proper connection to the mid­
therein. Note that only two plates can be provided for the                plane interface card 58 is essential to ensure proper connec­
enclosure 72, if desired. For example, one plate could be a          10   tion to the proper components in the FiEU 14 to support
first plate wherein a second plate is attached to the first plate.        communications as part of a distributed antenna system sup­
The first plate could be any of the bottom plate 74, the side             ported by the FiEU 14. Aligning these connections is impor­
plates 76A, 76B, and top plate 82. Also, the second plate                 tant for proper connection, especially given that the enclosure
could be any of the bottom plate 74, the side plates 76A, 76B,            72 is modular and tolerances of the enclosure components in
and top plate 82.                                                    15   the enclosure 72 can vary.
   With continuing reference to FIG. 3, the enclosure 72 is                   To illustrate the alignment features to properly align the
configured to support the OICs 60 illustrated in FIG. 2. In this          midplane interface card 58 with the enclosure 72, FIG. 5 is
embodiment as illustrated FIG. 4, the OICs 60 are grouped                 provided to illustrate a front view of the enclosure 72 with the
together in pairs to form an optical interface module (OIM)               midplane interface card 58 installed therein. FIG. 5 illustrates
84. Thus, an OIM 84 is comprised of two (2 ) OICs 60 that            20   a front side 93 of the midplane interface card 58. FIG. 6
each support up to three (3) RAUs 20 and thus the OIM 84                  illustrates a rear perspective view of the enclosure 72 with the
supports up to six (6) RAUs 20 in this embodiment. As illus­              midplane interface card 58 installed. No FiEU 14 components
trated in FIG. 4, each OIC 60 is provided as a PCB 86 with                are yet installed in the enclosure 72 in FIG. 5. FIG. 6 illus­
integrated circuits provided therein to provide electrical sig­           trates channels 91A that are disposed in the bottom plate 74 of
nal to optical signal conversions for communication down-            25   the enclosure 72 to receive bottom portions of the FiEC 42 and
links and vice versa for communication uplinks. An OIM                    OIMs 84 to align these components in the X and Y directions
plate 88 is provided to assist in coupling a pair of OICs 60              of the enclosure 72. Channels 91B (FIG. 14B) are also dis­
together to form the OIM 84. As will be discussed in more                 posed on the top plate 82 and are aligned with the channels
detail below in this disclosure, the pair of OICs 60 are secured          91A disposed in the bottom plate 74 to receive top portions of
to the OIM plate 88 to form the OIM 84. The OIM plate 88             30   the FiEC 42 and OIMs 84 to align these components in the X
serves to support the OIC 60 and contribute to the alignment              and Y directions. It is important that the midplane interface
the OICs 60 for proper insertion into and attachment to the               card 58 be properly aligned with regard to the enclosure 72 in
enclosure 72, which in turn assists in providing for a proper             each of the X, Y, and Z directions, as illustrated in FIG. 5,
and aligned connection of the OICs 60 to the midplane inter­              because the midplane interface card 58 includes connectors
face card 58, as shown in FIG. 3. In this embodiment, the            35   94A, 94B, 94C that receive complementary connectors (de­
PCBs 86 are attached to shield plates 95A, 95B that are                   scribed in more detail below) from components of the FiEU
attached to the OIM plate 88 to provide mechanical, RF, and               14 installed in the enclosure 72.
other electromagnetic interference shielding.                                 The connectors 94A are disposed in the midplane interface
   The OICs 60 are also secured together via standoff con­                card 58 and designed to accept connections from the FiEC 42
nectors 89 that contain alignment features to allow self-align-      40   and other like cards with a compatible complementary con­
ment between the OICs 60 when connected to the midplane                   nector, as illustrated in FIG. 3. The connectors 94B are dis­
interface card 58, as illustrated in FIG. 4 and as will be                posed in the midplane interface card 58 and designed accept
described in more detail in this disclosure. Connector adapt­             digital connections from the OICs 60. The RF connectors 94C
ers 90 are disposed in the OIM plate 88 and provide for optical           are disposed in the midplane interface card 58 and designed to
connections of OIC PCBs 86 of the OICs 60. The connector             45   accept RF connections from the OIC 60 (see element 195,
adapters 90 are disposed through openings 92 in the OIM                   FIGS. 21 and 22). The enclosure 72 is designed such that
plate 88 to provide external access when the OIM 84 is                    alignment of the FiEU 14 components is effected with respect
installed in the enclosure 72. RAUs 20 canbe connected to the             to the enclosure 72 when installed in the enclosure 72. Thus,
connector adapters 90 to establish connections to the OICs 60             if the connectors 94A, 94B, 94C are not properly aligned with
of the FiEU 14, and thus provided as part of the distributed         50   respect to the enclosure 72, components of the FiEU 14, by
antenna system 12, via the optical fiber cables 36 in FIG. 1              their alignment with the enclosure 72, may not be able to
being connected to the connector adapters 90. These connec­               establish proper connections with the midplane interface card
tor adapters 90 may receive any type of fiber optic connector,            58 and thus will not be connected to the distributed antenna
including but not limited to FC, LC, SC, ST, MTP, and MPO.                system provided by the FiEU 14.
The OIM 84 is secured to the enclosure 72 via spring-loaded          55       In this regard, as illustrated in FIGS. 5 and 6, a midplane
connector screws 85 disposed in the OIM plate 88 that are                 support 100 is installed in the datum plane 81 of the enclosure
configured to be inserted into apertures 87 (see FIG. 5) to               72 to align the midplane interface card 58 in the X, Y, and Z
secure the OIM plate 88 to the enclosure 72, as illustrated in            directions with regard to the enclosure 72. The midplane
FIG. 3.                                                                   support 100 may be a plate formed from the same material as
   To provide flexibility in providing OIMs 84, the FiEC 42,         60   the bottom plate 74, the side plates 76A, 76B, and/or the top
and the downlink BIC 54 and uplink BIC 56 in the FiEU 14,                 plate 82. The midplane support 100 provides a surface to
the enclosure 72 provides for the midplane interface card 58              mount the midplane interface card 58 in the enclosure 72. A
to be disposed inside the internal cavity 80 extending between            divider plate 101 is also provided and attached to the mid­
the side plates 76A, 76B in a datum plane 81, as illustrated in           plane support 100, as illustrated in FIG. 6, to separate com­
FIG. 3. As will be discussed in more detail below, alignment         65   partments for the downlink and uplink BICs 54, 56 and a
features are provided in the midplane interface card 58 and               power supply 59 (FIG. 6) to provide power for the FiEC 42
the enclosure 72 such that proper alignment of the midplane               and other components of the FiEU 14. As will also be
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described in more detail below, the modular design of the                108. Further, as illustrated in FIG. 5, openings 115 are dis­
enclosure 72 is provided such that the midplane support 100              posed in the midplane support 100 to allow cabling to be
is properly aligned in the datum plane 81 in the X, Y, and Z             extended on each side of the midplane interface card 58. The
directions when installed in the enclosure 72. Thus, if align­           nominal distance in one embodiment between the midplane
ment features are disposed in the midplane support 100 to           5    support 100 and the midplane interface card 58 when installed
allow the midplane interface card 58 to be properly aligned              is 0.121 inches, although any other distances could be pro­
with the midplane support 100, the midplane interface card 58            vided.
can be properly aligned with the enclosure 72, and as a result,             The midplane interface card 58 is also configured to
the connectors of the components of the HEU 14 installed in              receive direct connections from the downlink BIC 54 and the
the enclosure 72 will be properly aligned to the connectors         to   uplink BIC 56 when installed in the enclosure 72. As illus­
94A, 94B, 94C disposed in the midplane interface card 58.                trated in the rear view of the enclosure 72 in FIG. 9, the
   As illustrated in FIG. 5, two alignment features 102 are              downlink BIC 54 and uplink BIC 56 are designed to be
disposed in the midplane support 100 and the midplane inter­             inserted through a rear side 116 of the enclosure 72. Referring
face card 58 to align the midplane interface card 58 in the X,           back to FIG. 8, connector holes 116A, 116B are disposed on
Y, and Z directions with respect to the midplane support 100,       15   the midplane interface card 58 in FIG. 8 show where connec­
and thus the enclosure 72. FIG. 7 illustrates a close-up view of         tors are provided that are connected to connectors 118 (see
the right-hand side of the midplane interface card 58 installed          FIGS. 10A and 10B) of the downlink BIC 54 and uplink BIC
on the midplane support 100 that also shows one of the                   56 when the downlink BIC 54 and uplink BIC 56 are received
alignment features 102. The alignment features 102 in this               are fully inserted into the enclosure 72. The alignment fea­
embodiment are comprised of PCB support guide pins 104              20   tures 102, by being provided between the midplane interface
that are configured to be disposed in alignment openings 106,            card 58 and the midplane support 100 as previously dis­
108 disposed in the midplane interface card 58 and midplane              cussed, also provide proper alignment of the connector holes
support 100, respectively. FIG. 8 illustrates a front side 109 of        116A, 116B to be properly aligned with the connectors 118 in
the midplane interface card 58 without connectors. The PCB               the downlink BIC 54 and uplink BIC 56 when inserted in the
support guide pins 104 are installed and configured to be           25   enclosure 72.
disposed through the alignment openings 106, 108. Before                    FIGS. 10A and 10B illustrate a BIC assembly 120 that
the PCB support guide pins 104 can be inserted through both              supports the downlink BIC 54 or the uplink BIC 56 and is
alignment openings 106,108 disposed in the midplane inter­               configured to be received in the enclosure 72 to connect the
face card 58 and midplane support 100, the alignment open­               downlink BIC 54 or the uplink BIC 56 to the midplane inter­
ings 106, 108 are aligned with the PCB support guide pins           30   face card 58. The BIC assembly 120 is the same whether
104. Thus, by this alignment, the midplane interface card 58             supporting the downlink BIC 54 or the uplink BIC 56; thus,
is aligned in the X and Y directions with the midplate support           the BIC supported by the BIC assembly 120 in FIGS. lOAand
100. For example, the inner diameter of the openings 106,108             10B could be either the downlink BIC 54 or the uplink BIC
may be 0.003 inches or less larger that the outer diameter of            56. The BIC assembly 120 includes a BIC support plate 122
the PCB support guide pin 104. Also, the tolerances between         35   that is configured to secure the downlink and uplink BICs 54,
the center lines in the X direction of the alignment openings            56. Standoffs 124 are provided to support a BIC PCB 126 of
106, 108 may be less than 0.01 inches or 0.005 inches, as                the downlink and uplink BICs 54, 56 above the BIC support
examples, to provide an alignment between the alignment                  plate 122. A BIC face plate 128 is coupled generally orthogo­
openings 106,108 before the PCB support guide pins 104 can               nal to the BIC support plate 122 to secure the downlink and
be disposed through both alignment openings 106,108. Any            40   uplink BICs 54, 56 to the enclosure, as illustrated in FIG. 9.
other tolerances desired can be provided.                                Alignment features 130 are provided between the BIC sup­
   Once the PCB support guide pins 104 are inserted into the             port plate 122 and the BIC face plate 128 to ensure that the
openings 106, 108, the midplane interface card 58 can be                 BIC PCB 126, and thus its connector 118, are properly
screwed in place to the midplane support 100. In this regard,            aligned in the X and Y directions, as illustrated in FIG. 9,
additional openings 110 are disposed in the midplane inter-         45   when the downlink and uplink BICs 54, 56 are inserted in the
face card 58, as illustrated in FIG. 5. These openings 110 are           enclosure 72. Thus, the connector 118 will be properly
configured to align with openings 112 disposed in the mid­               aligned with the enclosure 72 and thus the connector holes
plane support 100 when the alignment openings 106,108 are                116A, 116B on the midplane interface card 58 to allow a
aligned or substantially aligned. A total of twenty (20) or              proper connection between the downlink and uplink BICs 54,
other number of openings 110, 112 are disposed in the mid-          50   56 and the midplane interface card 58. The alignment features
plane interface card 58 and midplane support 100, as illus­              130 will ensure alignment of the BIC PCB 126 as long as the
trated in FIG. 5. Fasteners 114, such as screws for example,             BIC PCB 126 is properly installed on the BIC support plate
can be disposed through the openings 110, 112 to secure the              122, which will be described in more detail below. As illus­
midplane interface card 58 to the midplane support 100 and               trated on the bottom side 127 of the BIC assembly 120 in FIG.
to, in turn, align the midplane interface card 58 to the mid-       55   11, the alignment features 130 in this embodiment are pro­
plane support 100 in the Z direction.                                    trusions 132 attached to the BIC support plate 122 that are
   FIG. 8 illustrates the midplane interface card 58 without             configured to be disposed through openings 134 disposed
the fasteners 114 disposed in the openings 110 to further                through the BIC face plate 128, as illustrated in FIG. 10A. The
illustrate the openings 110. The fasteners 114 are screwed               downlink or uplink BIC connectors 50, 52 (see also, FIG. 2),
into self-clinching standoff. For example, the self-clinching       60   as the case may be, are disposed through the BIC face plate
standoff may be disposed in the midplane support 100. The                128 to allow BTS inputs and outputs to be connected to the
height tolerances of the self-clinching standoffs may be                 downlink and uplink BICs 54,56, external to the enclosure 72
between +0.002 and -0.005 inches, as an example. The inner               when the downlink and uplink BICs 54, 56 are fully inserted
diameter of the openings 110 may be 0.030 inches greater                 in the enclosure 72.
than the outer diameter of the fasteners 114, for example,          65      To provide alignment of the BIC PCB 126 to the BIC
since openings 110 are not used to provide the alignment                 support plate 122, alignment features 140 are also disposed in
provided by PCB support guide pins 104 and openings 106,                 the BIC PCB 126 and the BIC support plate 122, as illustrated
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in FIGS. 10A, 10B, 11 and 12. As illustrated therein, PCB                BIC ribbon connector 157 through the openings 169, 171 to
support guide pins 142 are disposed through alignment open­              the downlink BIC 54 and uplink BIC 56.
ings 144,146 disposed in the BIC PCB 126 and BIC support                    The enclosure 72 is also provided as a modular design to
plate 122, respectively, when aligned. The alignment open­               allow the enclosure to be easily assembled and to effect
ings 144 and 146 are designed to only be aligned to allow the       5    proper alignment between the various plates and components
PCB support guide pin 142 to be disposed therein when the                that form the enclosure 72. For example, FIG. 18 illustrates a
alignment openings 144,146 are in alignment. For example,                front exploded perspective view of the enclosure 72. As illus­
the tolerances between the alignment openings 144,146 may                trated therein, the enclosure 72 is formed from the side plates
be less than 0.01 inches or less than 0.005 inches, as                   76A, 76B being connected to and between the bottom plate 74
examples, to ensure an alignment between the alignment              to   and the top plate 82. The midplane support 100 is configured
openings 144,146 before the PCB support guide pins 142 can               to be disposed in the datum plane 81 (see FIG. 5) of the
be disposed through both alignment openings 144,146. Any                 enclosure 72 when assembled. The divider plate 101 is con­
other tolerances desired can be provided.                                figured to be attached to the midplane support 100 generally
   FIGS. 9-12 described above provide the BIC connectors                 orthogonal to the datum plane 81 to divide compartments for
50.52 disposed through the rear side 116 of the enclosure 70.       15   the downlink and uplink BICs 54, 56 and a power module
To establish connections with the BIC connectors 50, 52,                 disposed in the HEU 14 on the rear side of the midplane
connections are established to the BIC connectors 50, 52 in              support 100.
the rear side 116 of the enclosure 72. Alternatively, the enclo­            To further illustrate the modularity and ease in assembly of
sure 72 could be designed to allow connections to be estab­              the enclosure 72, FIGS. 19A and 19B illustrate top and bot­
lished to the downlink BIC 54 and the uplink BIC 76 from the        20   tom perspective view, respectively, of the enclosure 72 to
front side of the enclosure 72. In this regard, FIG. 13 is a side        further illustrate how the side plates 76A, 76B are attached to
perspective view of the assembly 70 of FIG. 3 with the down­             the top plate 82 and bottom plate 74. Inthisregard, the top and
link BIC connectors 50 for the downlink BIC and the uplink               bottom plates 82,74 include an alignment feature in the form
BIC connectors 52 for the uplink BIC 56 disposed through a               of locating tabs 150, 152. The locating tabs 150, 152 are
front side 147 of the enclosure 72. As illustrated therein, a       25   integrally formed in the top and bottom plates 74, 82 and are
downlink BIC connector plate 149 containing downlink BIC                 configured to engage with complementary alignment open­
connectors 50 disposed therein is disposed in the front side             ings or alignment slots 154, 156 integrally disposed in the
147 of the assembly 70. Similarly, an uplink BIC connector               side plates 76A, 76B. FIGS. 19A and 19B also illustrates a
plate 151 containing uplink BIC connectors 52 disposed                   close-up view of the top plate 82 attached to the side plate 76B
therein is also disposed in the front side 147 of the assembly      30   and the locating tabs 150 engaged with the alignment slots
70.                                                                      154. This allows the top and bottom plates 74, 82 to be
   FIGS. 14 and 15 illustrate front and rear perspective views           attached in proper alignment quickly and easily with the side
of an exemplary BIC connector plate, which can be BIC                    plates 76A, 76B when assembling the enclosure 72. In the
connector plate 149 or 151. As illustrated therein, the BIC              enclosure 72, there are four (4) locating tabs 150,152 on each
connectors 50 or 52 are disposed through the BIC connector          35   side of the top and bottom plates 82, 74, and four (4) comple­
plate 149 or 151 so that the BIC connectors 50 or 52 can be              mentary alignment slots 154,156 disposed on each side of the
accessed externally through the front side 147 of the assembly           side plates 76A, 76B, although any number of locating tabs
70. Fasteners 153 can be disposed through openings 155 in                and slots desired can be employed. Fasteners can then be
the BIC connector plates 149 or 151 to fasten the BIC con­               employed, if desired to secure the locating tabs 150, 152
nector plates 149 or 151 to the assembly 70. Channel guides         40   within the alignment slots 154, 156 to prevent the enclosure
173 are attached to the BIC connector plates 149 or 151 that             72 from disassembling, as illustrated in FIG. 20. FIG. 20 also
are configured to be received in the channels 91A, 91B in the            illustrates a close-up view of the top plate 82 attached to the
assembly 70 to assist in aligning the BIC connector plates 149           side plate 76B in this regard.
or 151 with the assembly 70 when disposing the BIC connec­                  As illustrated in FIG. 20, the top plate 82 contains rolled or
tor plates 149 or 151 in the assembly 70. Because the down-         45   bent up sides 180 that are configured to abut tightly against
link BIC 54 and uplink BIC 56 are disposed in the rear of the            and a top inside side 182 of the side plate 76B. The same
assembly 70, as illustrated in FIGS. 9-12, the BIC connectors            design is provided between the top plate 82 and the side plate
50 or 52 are provided in the BIC connector plates 149 or 151             76A, and the bottom plate 74 and the side plates 76A, 76B. An
to connect the BIC connectors 50 or 52 to the downlink BIC               outer width Wj of the top and bottom plates 82,74 is designed
54 or uplink BIC 56, as illustrated in FIG. 15 and as will be       50   such that the fit inside an inner width W2 of the side plates
described below with regard to FIGS. 16 and 17. Further, a               76A, 76B, as illustrated in FIG. 19A. Fasteners 184 disposed
BIC ribbon connector 157 is disposed in the BIC connector                in openings 186 in the side plates 76A, 76B and openings 188
plates 149 or 151 to connect to the downlink BIC 54 or uplink            in the top and bottom plates 82, 74 pull the side plates 76A,
BIC 56 to carry status signals regarding the downlink BIC 54             76B and the top and bottom plates 82, 74 close together
or uplink BIC 56 to be displayed on visual indicators 161           55   tightly to provide a tight seal therebetween. Further, as illus­
disposed on the BIC connector plates 149 or 151.                         trated in FIG. 20, an alignment tab 181 extending from the
   FIG. 16 is a rear side perspective view of the enclosure 72           midplane support 100 is shown and extends into a slot 183
illustrating cables 165,167 connected to the BIC connectors              disposed in the top plate 82 to further align the midplane
50.52 being disposed through an opening 169 in the midplane              support 100 with the enclosure 72.
support 100 and an opening 171 in the divider plate 101. The        60      FIG. 21 also illustrates alignment features provided in the
cables 165, 167 provide connections between the BIC con­                 midplane support 100 that are configured to align the mid­
nectors 50, 52 and the BIC ribbon connector 157 so that the              plane support 100 with the enclosure 72. As illustrated in FIG.
BIC connectors 50,52 can be disposed in the front side 147 of            21, the top plate 82 includes integral alignment slots 160 in
the assembly 70 with the downlink BIC 54 and the uplink BIC              the datum plane 81 when the top plate 82 is secured to the side
56 disposed in the rear of the assembly 70. FIG. 17 is a top        65   plate 76B. The side plate 76B also includes alignment slots
view of the assembly 70 further illustrating the routing of the          162 integrally disposed along the datum plane 81 when the
cables 165, 167 connecting the BIC connectors 50, 52 and                 side plate 76B is secured to the top plate 82. The midplane
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support 100 includes locating tabs 164 that are disposed                of the OICs 60. An opening 210 disposed in the alignment
through the alignment slots 160, 162 when the midplane                  surface 204A is configured to align with an opening disposed
support 100 is properly aligned with the enclosure 72 and the           in the PCB 86 wherein a fastener can be disposed therein and
top plate 82 and side plate 76B (see also, FIG. 7). In this             engaged with the opening 210 to secure the PCB 86 to the
manner, as previously described, when the midplane interface       5    alignment block 202. To align the alignment block 202 to the
card 58 is properly aligned with the installed midplane sup­            PCB 86, the guide pin 208 is aligned with an opening in the
port 100, the midplane interface card 58 is properly aligned            PCB 86 and inserted therein when aligned.
with the enclosure 72 and thus any F1EU 14 components                      The alignment surface 204B also contains an opening 212
installed in the enclosure 72. Alignment slots 166 similar to           that is configured to receive a fastener 214 (FIG. 23) disposed
alignment slots 160 are also integrally disposed in the bottom     to   through the OIM plate 88 and engage with the opening 212.
plate 74, as illustrated in FIG. 19B. These alignment slots 166         Some of the fasteners 214 may be configured to also be
are also configured to receive locating tabs 168 in the mid­            disposed through openings in the connector adapters 90, as
plane support 100, as illustrated in FIG. 19B, to align the             illustrated in FIG. 23, to secure both the connector adapters 90
midplane support 100.                                                   to the OIM plate 88 and the OIM plate 88 to the OICs 60. In
   Further, as illustrated in FIGS. 19A and 19B, the enclosure     15   this manner, the OIM plate 88 is secured to the alignment
72 is also configured to receive and support removable                  block 202, and the alignment block 202 is aligned and secured
mounting brackets 170A, 170B to secure the enclosure 72 to              to the PCB 86. Thus, the OIM plate 88 is aligned with the PCB
an equipment rack. As illustrated therein, the mounting                 86 of the OIC 60 in the Z direction.
brackets 170A, 170B include folded down components that                    Further, when tolerances are tight, it may be difficult to
form tabs 172A, 172B. The side plate 76A, 76B include              20   ensure proper mating of all connectors 194, 94B between the
integral alignment slots 174, 176, respectively, that are con­          OICs 60 and the midplane interface card 58. For example, as
figured to receive the tabs 172A, 172B. To secure the tabs              illustrated in FIG. 23, if the spacing between standoffs 196
172A, 172B to the enclosure 72, fasteners 178A, 178B are                securing and spacing apart the PCBs 86 of the OICs 60 is not
disposed through openings 179A, 179B in the tabs 172A,                  the same as the spacing between connectors 94B in the mid­
172B, respectively, and secure to the top plate 82 and bottom      25   plane interface card 58, alignment of the OICs 60 in the X, Y,
plate 74.                                                               or Z directions may not be proper, and thus only one or neither
   Other features are provided to support alignment of com­             OIC 60 may be able to be connected to the midplane interface
ponents of the F1EU 14 and to support proper connection of              card 58 and/or without damaging the midplane interface card
these components to the midplane interface card 58. For                 58 and/or its connectors 94B.
example, one of these components is the OIM 84, as previ-          30      In this regard, FIG. 26A illustrates a rear perspective view
ously discussed. The OIM 84 is illustrated in FIG. 22,                  of the OIM 84 of FIGS. 23 and 24 with standoffs 196 provided
wherein fiber routing guides 190 can be disposed on the                 between the two PCBs 86 of the OICs 60 that allow one PCB
outside of the PCB 86 of the OIC 60 to assist in routing optical        86 to float with regard to the other PCB 86. FIG. 26B illus­
fibers 192 from connector adapters 90 that are configured to            trates a rear perspective view of the OIM 84 of FIG. 26A
connect to optical fibers connected to the RAUs 20 (see FIG.       35   within optional shield plates 95A, 95B installed to the PCBs
2). The optical fibers 192 are connected to the electronic              86 and to the OIM plate 88 to provide mechanical, RF, and
components of the OIC 60 to convert the received optical                other electromagnetic interference shielding. In this regard,
signals from the RAUs 20 into electrical signals to be com­             tolerances are eased when the OICs 60 are secured to the OIM
municated to the uplink BIC 56 via connector 194 and RF                 plate 88 to allow one connector 194 of an OIC 60 to move or
connectors 195 that are connected to the midplane interface        40   float slightly in the X, Y, or Z directions with regard to the
card 58 when the OIM 84 is inserted into the enclosure 72, as           other OIC 60, as illustrated in FIGS. 26A and 26B. FIG. 27
previously discussed.                                                   illustrates a close-up view of one standoff 196 between two
   As previously discussed, the OIM 84 includes two OICs 60             PCBs 86A, 86B of the OICs 60. As will be described in more
connected to the OIM plate 88 to be disposed in channels                detail below, the standoff 196 is allowed to float about the top
91A, 91B inthe enclosure 72. Also, by providing two OICs 60        45   PCB 86A to allow the positioning or orientation of the top
per OIM 84, it is important that the connectors 194 are prop­           PCB 86A to move slightly in the X, Y, or Z directions with
erly aligned and spaced to be compatible with the alignment             regard to the bottom PCB 86B.
and spacing of the complementary connectors 94B in the                     FIG. 28 is a side cross-sectional view of the top and bottom
midplane interface card 58 (see FIG. 5). Otherwise, the OICs            PCBs 86A, 86B of the OIM 84 mounted to each other with the
60 may not be able to be properly connected to the midplane        50   standoff 196, as illustrated in FIGS. 26A and 26B and 28, to
interface card 58. For example, if the PCBs 86 of the OICs 60           further illustrate the floating top PCB 86A. In this regard, the
are not both secured in proper alignment to the OIM plate 88,           standoff 196 is comprised of a body 199. The body 199 of the
as illustrated in FIG. 23, one or both OICs 60 may not be               standoff 196 is also illustrated in the perspective, side and top
aligned properly in the Z direction.                                    view of the standoff in FIGS. 29A-29C, respectively. The
   In this regard, FIG. 24 illustrates an alignment feature 200    55   body 199 includes a first collar 220 at a first end 222 of the
to ensure that the PCBs 86 of the OICs 60 are properly                  body 199 of an outer diameter ODj than is smaller than an
secured and aligned with regard to the OIM plate 88 in the Z            outer diameter OD2 of a second collar 224 located at a second
direction. As illustrated in FIG. 24 and more particularly in           end 226 of the body 199, as illustrated in FIG. 28-30. The first
FIG. 25, an alignment block 202 is provided. As illustrated in          and second collars 220, 224 are configured to be received
FIG. 25, the alignment block 202 includes two alignment            60   within openings 228, 230 of the top and bottom PCBs 86A,
surfaces 204A, 204B. As illustrated in FIGS. 24 and 25,                 86B, as illustrated in FIG. 28. The first end 222 and second
alignment surface 204A is configured to be disposed against             end 226 of the body 199 contains shoulders 232,234 that limit
the surface of the PCB 86. Alignment surface 204B is con­               the amount of disposition of the first and second collars 220,
figured to be disposed against a rear surface 206 of the OIM            224 through the openings 228, 230 in the top and bottom
plate 88, as also illustrated in FIG. 24. As illustrated in FIG.   65   PCBs 86A, 86B.
25, guide pin 208 extends from the alignment surface 204A                  As illustrated in FIG. 28, the second collar 224 is designed
that is configured to be disposed in an opening in the PCB 86           so that the outer diameter OD2 includes a tight tolerance with
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the inner diameter of the opening 230. In this manner, the                accept digital connections from the OICs 60, the downlink
second collar 224 will not float within the opening 230. Fur­             BIC 54, and the uplink BIC 56. As previously discussed and
ther, a height H2of the second collar 224 (see FIG. 29C) is less          illustrated, digital connectors, including connectors 94B, dis­
than a width W3 of the PCB 86A and opening 230 disposed                   posed in the midplane interface card 58 receive complemen­
therein, as illustrated in FIG. 28. This allows a head 236 of a      5    tary digital connectors 194 from the OICs 60, the downlink
fastener 238 to be secured directly onto the outer surface 239            BIC 54, and the uplink BIC 56 when inserted into the enclo­
of the bottom PCB 86B when disposed through a threaded                    sure 72. The OICs 60, the downlink BIC 54, and the uplink
shaft 240 of the body 199 to firmly secure the standoff 196 to            BIC 56 are designed such that their digital connections are
the bottom PCB 86B. Because of the outer diameter OD2 and                 first made to corresponding digital connectors disposed in the
height H2 provided for the second collar 224 of the standoff         to   midplane interface card 58 when inserted into the enclosure
196, the bottom PCB 86B does not float.                                   72 before their RF connections are made to RF connectors
   However, to allow the top PCB 86A to float, the outer                  disposed on the midplane interface card 58. In this manner,
diameter ODj and height Hj of the first collar 220 is different           these digital connections assist in aligning the OICs 60, the
from that of the second collar 224. In this regard, as illustrated        downlink BIC 54, and the uplink BIC 56 in the X and Y
in FIGS. 28-29C and 30, the outer diameter ODi of the first          15   directions with regard to the midplane interface card 58.
collar 220 is smaller than the inner diameter of the opening                 In this regard, FIG. 33 illustrates a side view of the assem­
228. A gap G is formed therebetween to allow the first collar             bly 70 showing a digital connector 194 from an OIC 60 being
220 to move slightly with respect to the opening 228 when                 connected to a complementary connector 94B disposed in the
disposed therein. Further, the height Hj of the first collar 220          midplane interface card 58. As illustrated therein, the digital
is taller than the width W) of the top PCB 86A, as illustrated       20   connector 194 disposed in the OIC 60 is designed such that
in FIG. 28. Thus when a fastener 242 is disposed within the               the digital connector 194 makes a connection with the
threaded shaft 240 and tightened, a head 244 of the fastener              complementary connector 94B in the midplane interface card
242 will rest against a top surface 246 of the first collar 220.          58 before an RF connector 195 disposed in the OIC 60 makes
Because the first collar 220 extends in a plane about a top               a connection with the complementary RF connector 94C
surface 248 of the top PCB 86A, the head 244 of the fastener         25   disposed in the midplane interface card 58. In this regard,
242 does not contact the top surface 248 of the PCB 86A.                  when the digital connector 194 begins to connect with the
Thus, when the fastener 242 is tightened, a friction fit is not           complementary connector 94B, the digital connector 194
provided between the head 244 and the top surface 248 of the              aligns with the complementary connector 94B. The end of the
PCB 86A, allowing the top PCB 86A to float with respect to                RF connector 195 in the OIC 60 is still a distance D away from
the standoff 196 and the bottom PCB 86B.                             30   the complementary RF connector 94C. In one non-limiting
   FIG. 31 illustrates an alternative standoff 196' that is the           embodiment, the distance D may be 0.084 inches. Because
same as the standoff 196, but the thread shaft does not extend            the digital connectors 194 on the OICs 60 are in a fixed
all the way through the body 199' like the standoff 196 in FIG.           relationship to the RF connectors 195 provided therein in this
30. Instead, the thread shafts 240A', 240B' are separated. The            embodiment, alignment of the digital connectors 194 also
standoff 196' can still be employed to provide the floating          35   provides alignment of the RF connectors 195 of the OICs 60
PCB 86 features discussed above. Also note that the standoffs             to the complementary RF connectors 94C disposed in the
196, 196' configured to allow a PCB to float can also be                  midplane interface card 58 as well. Thus, as the digital con­
provided for the standoffs 196, 196' provided to install any              nector 194 is fully inserted in the complementary connector
other components of the HEU14, including but not limited to               94B, the RF connector 195 will be aligned with the comple­
the downlink BIC 54 and the uplink BIC 56. Further, the              40   mentary RF connector 94C when disposed therein. Align­
design of the bodies 199,199' may include a hexagonal outer               ment of the RF connector 195 may be important to ensure
surface over the entire length of the bodies 199, 199'.                   efficient transfer of RF signals. This feature may also be
   FIGS. 32A and 32B are side cross-sectional views of an                 beneficial if the RF connections require greater precision in
alternative standoff 250 that can be employed to secure the               alignment than the digital connections. The same alignment
OIC PCBs 86 and provide one of the OIC PCBs 86 as a                  45   feature can be provided for the downlink BIC 54 and uplink
floating PCB. The alternative standoff 250 may be employed                BIC 56.
to secure the OIC PCBs 86 when the shield plates 95A, 95B                    As previously discussed and illustrated in FIG. 4, the OIM
are installed, as illustrated in FIG. 26B. In this regard, one            plate 88 provides support for the connectors 90 and for attach­
standoff 252 is configured to be disposed within another                  ing the OICs 60 to the OIM plate 88 to provide alignment of
standoff 254. The first standoff 252 contains a thread shaft         50   the OICs 60 when inserted into the enclosure 72. An OIM
256 that is configured to receive a fastener to secure a shield           plate 88 is provided to assist in coupling a pair of OICs 60
plate 95 to the standoff252 and the OIM 84. The standoff 252              together to form the OIM 84. The OIM plate 88 serves to
contains a threaded member 255 that is configured to be                   support the OICs 60 and contributes to the alignment the
secured to a threaded shaft 257 disposed in the standoff 254.             OICs 60 for proper insertion into and attachment to the enclo­
The standoff 254 contains a collar 258 similar to the collar         55   sure 72, which in turn assists in providing a proper and
220, as described above in FIGS. 28-29B, that surrounds the               aligned connection of the OICs 60 to the midplane interface
threaded shaft 257 and is configured to be received inside an             card 58. In this regard, as illustrated in FIG. 34, one feature
opening of an OIC PCB 86 having a greater inner diameter                  that can be provided in the OIM 84 to allow the OIM plate 88
than the outer diameter OD3 of the collar 258. This allows an             to be provided in embodiments disclosed herein is to provide
OIC PCB 86 disposed on the collar 258 to float with respect          60   an OIC PCB 86 that extends beyond receiver optical sub-
to another OIC PCB 86 secured to a thread shaft 260 of the                assemblies (ROSAs) and transmitter optical sub-assemblies
standoff 254. The standoff 254 has a collar 262 having an                 (TOSAs) provided in the OIC 60.
outer diameter OD4 that is configured to be received in an                   As illustrated in FIG. 34, a top perspective view of the OIM
opening in an OIC PCB 86 that does not allow float.                       84 is provided illustrating the extension of OIC PCBs 86
   Another alignment feature provided by the embodiments             65   beyond transmitter optical sub-assemblies (TOSAs) 262 and
disclosed herein is alignment assistance provided by the digi­            receiver optical sub-assemblies (ROSAs) 260. The TOSAs
tal connectors disposed in the midplane interface card 58 that            262 and ROSAs 260 are connected via optical fibers 263,265
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to the connectors 90 that extend through the OIM plate 88 to             lower plenum 286 passes through openings disposed in a
allow connections to be made thereto. By extending the OIC               lower plenum plate 294 and then passes through the openings
PCBs beyond the TOSAs 262 and ROSAs 260, the OIM plate                   disposed between OICs 60 wherein the air then passes
88 can be secured to the OIC PCBs 86 without interfering                 through openings 296 disposed in an upper plenum plate 298,
with the TOSAs 262 and ROSAs 260. In this embodiment, the           5    as illustrated in FIG. 38. In this manner, air is directed across
TOSAs 262 and ROSAs 260 are mounted or positioned on an                  the OICs 60 to provide cooling of the OICs 60. Air then
end of a PCB to transmit and/or receive optical signals inter­           entering into the upper plenum 288 is free to exit from the
faced with electrical signal components disposed in the OIC              enclosure 72, as illustrated in FIG. 36. The upper plenum 288
PCB 86. Mounting or positioning of TOSAs 262 and ROSAs                   is open to the outside of the enclosure 72 through the rear of
260 on the end of a PCB may limit the length of exposed,            to
                                                                         the enclosure 72, as illustrated in FIGS. 36 and 37 and in FIG.
unshielded wire extensions between the TOSAs 262 and
                                                                         39.
ROSAs 260 and printed traces on the PCB. This provides for
                                                                            Further, as illustrated in FIGS. 40 and 41, openings 300 and
signal integrity of the signals after conversion to electrical
signals.                                                                 302 can also be disposed in the upper plenum plate 298 above
   Thus, a sufficient space is provided to allow for the TOSAs      15
                                                                         the uplink BIC 56 and in the downlink BIC 54 to provide
262 and ROSAs 260 to extend beyond an end of a PCB. In this              further movement of air for cooling purposes. These openings
regard, openings 264, 266 are disposed in the OIC PCB 86 in              300, 302 allow some of the air flowing into the enclosure 72
this embodiment. The openings 264, 266 allow the TOSAs                   from the cooling fan 280 to be drawn from the lower plenum
262 and ROSAs 260 to be disposed in the OIC PCB 86                       286 into the downlink BIC 54 and then into the uplink BIC 56
without the TOSAs 262 and ROSAs 260 extending beyond an             20   via openings 302. Air can then be directed from the uplink
end 268 of the OIC PCB 86 where the OIM plate 84 is                      BIC 56 through openings 300 and into the upper plenum 288
disposed. Thus, the openings 264, 266 allow the TOSAs 262                outside of the enclosure 72.
and ROSAs 260 to be disposed at an end 270 of the PCB                       Further, as illustrated in FIGS. 36, 39, and 41 an optional
where the openings 264,266 start, but not at the end 268 of the          second cooling fan 301 is provided below the upper plenum
OIC PCB 86 where the OIM plate 88 is located. In this               25   plate 298. In this manner, some of the air from the enclosure
manner, space is provided for the TOSAs 262 and ROSAs 260                72 is drawn through the power supply 59 by the second
such that they do not interfere with or prevent the OIM plate            cooling fan 301 to provide cooling of the power supply 59.
88 from being disposed at the end 268 of the OIC PCB 86.                 For example, the second cooling fan 301 may be rated to
   It may also be desired to provide a cooling system for the            direct air at a flow rate of thirteen (13) cubic feet per minute
assembly 70. The components installed in the assembly 70,           30   (CFM) or any other rating desired.
including the downlink BIC 54, the uplink BIC 56, the HEC                   Many modifications and other embodiments set forth
42, and the OICs 60 generate heat. Performance of these                  herein will come to mind to one skilled in the art to which the
components may be affected if the temperature due to the                 embodiments pertain having the benefit of the teachings pre­
generated heat from the components is not kept below a                   sented in the foregoing descriptions and the associated draw­
threshold temperature. In this regard, FIGS. 35 and 36 illus-       35   ings. Therefore, it is to be understood that the description and
trate the assembly 70 and enclosure 72 of FIG. 3 with an                 claims are not to be limited to the specific embodiments
optional cooling fan 280 installed therein to provide cooling            disclosed and that modifications and other embodiments are
of components installed in the enclosure 72. View of the                 intended to be included within the scope of the appended
cooling fan 280 is obscured by a cooling fan protector plate             claims. For example, the embodiments disclosed herein can
282 in front perspective view of the assembly 70 in FIG. 35;        40   be employed for any type of distributed antenna system,
however, FIG. 36 illustrates a side cross-sectional view of the          whether such includes optical fiber or not.
assembly 70 and enclosure 72 showing the cooling fan 280                    It is intended that the embodiments cover the modifications
installed in the enclosure 72 behind the cooling fan protector           and variations of the embodiments provided they come within
plate 282 attached to the enclosure 72. In this embodiment,              the scope of the appended claims and their equivalents.
cooling is provided by the cooling fan 280 taking air into the      45   Although specific terms are employed herein, they are used in
enclosure 72 through openings 284 disposed in the cooling                a generic and descriptive sense only and not for purposes of
fan protector plate 282 and drawing the air across the com­              limitation.
ponents in the enclosure 72, as will be described in more
detail below. The air may be pushed through the rear of the                What is claimed is:
enclosure 72 through an air outlet, as illustrated in FIG. 36.      50     1. A communications card, comprising:
For example, the cooling fan 280 may be rated to direct air at             a printed circuit board (PCB) having a first end and a
a flow rate of sixty (60) cubic feet per minute (CFM) or any                  second end opposite the first end;
other rating desired.                                                      at least one radio-frequency (RF) communications compo­
   With continuing reference to FIG. 36, a lower plenum 286                   nent and at least one digital communications component
and an upper plenum 288 is provided in the enclosure 72. The        55        disposed in the PCB;
lower plenum 286 is provided to direct air pulled in the                   at least one radio-frequency (RF) connector disposed at the
enclosure 72 by the cooling fan 280 initially to the bottom of                first end of the PCB and coupled to the at least one RF
the enclosure 72 to allow the air to then be directed upward                  communications component; and
through OICs 60 installed in the enclosure 72 and to the upper             at least one digital connector disposed at the first end of the
plenum 288 to be directed to the rear and outside of the            60        PCB and coupled to the at least one digital communica­
enclosure 72. Passing air across the OICs 60 cools the OICs                   tions component;
60. This air flow design is further illustrated in the air flow            wherein the at least one digital connector is configured to
diagram of FIG. 37. In this regard, with reference to FIG. 36,                engage at least one complementary digital connector to
a fan duct 290 is provided behind the cooling fan 280 to direct               align the at least one RF connector with at least one
air drawn into the enclosure 72 by the cooling fan 280. A plate     65        complementary RF connector, prior to the at least one
292 is installed in the fan duct 290 to direct air flow down from             RF connector engaging the at least one complementary
the fan duct 290 into the lower plenum 286. The air from the                  RF connector.
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   2. The communications card of claim 1, wherein the at least           wherein the at least one digital connector is configured to
one RF connector extends a first distance beyond the first end              engage at least one complementary digital connector
of the PCB.                                                                 disposed in the interface PCB card to align the at least
   3. The communications card of claim 2, wherein the at least              one RF connector with at least one complementary RF
one digital connector extends a second distance greater than 5              connector disposed in the interface PCB card, prior to
the first distance beyond the first end of the PCB.                         the at least one RF connector engaging the at least one
   4. The communications card of claim 3, wherein the dif­                  complementary RF connector.
ference between the first distance and the second distance is            16. The communications assembly of claim 15, wherein
less than 0.1 inches.                                                 the at least one RF connector extends a first distance beyond
   5. The communications card of claim 3, wherein:                 to
                                                                      the first end of the communications board.
   the at least one complementary RF connector extends a
                                                                         17. The communications assembly of claim 16, wherein
      third distance beyond a first end of a second PCB;
                                                                      the at least one digital connector extends a second distance
   the at least one complementary digital connector extends a
      fourth distance at least as great as the third distance         greater than the first distance beyond the first end of the
      beyond the first end of the second PCB; and                  15 communications board.
   the difference between the first distance and the second              18. The communications assembly of claim 17, wherein
      distance is greater than the difference between the third       the difference between the first distance and the second dis­
      distance and the fourth distance such that at least one         tance is less than 0.1 inches.
      digital connector is configured to engage at least one             19. The communications assembly of claim 15, wherein
      complementary digital connector prior to the at least one 20 the interface PCB card is comprised of a midplane interface
      RF connector engaging the at least one complementary            card.
      RF connector.                                                      20. The communications assembly of claim 19, wherein
   6. The communications card of claim 5, wherein the third           the midplane interface card is mounted to a midplane support
distance and fourth distance are equal.                               mounted in a housing configured to support the midplane
   7. The communications card of claim 1, wherein the at least 25 interface card in a datum plane of the housing.
one complementary digital connector is disposed in a second              21. The communications assembly of claim 20, further
PCB.                                                                  comprising at least one alignment feature disposed in the
   8. The communications card of claim 1, wherein the at least        midplane support configured to engage the midplane inter­
one complementary RF connector is disposed in a second                face card to align the midplane interface card with the mid­
PCB.                                                               30 plane support in at least two dimensions of the housing.
   9. The communications card of claim 8, wherein the at least           22. The communications assembly of claim 21, wherein
one complementary digital connector is disposed in the sec­           the at least one alignment feature is comprised of at least two
ond PCB.                                                              alignment openings disposed in the midplane support each
   10. The communications card of claim 1, wherein the at             configured to receive an alignment pin.
least one digital connector is blind-mated with the at least one 35      23. The communications assembly of claim 15 provided in
complementary digital connector.                                      an antenna equipment housing.
   11. The communications card of claim 1, wherein the at                24. A method of aligning communication connectors dis­
least one RF connector is blind-mated with the at least one           posed in a communications card, comprising:
complementary RF connector.                                              providing a communications card having a first end and a
   12. The communications card of claim 1, wherein the com- 40              second end opposite the first end;
munications card is comprised of at least one of a downlink              initially engaging at least one digital connector disposed at
base transceiver station (BTS) interface card (BIC), an uplink              the first end of the communications card with at least one
BIC, and an optical interface card (OIC).                                   complementary digital connector prior to engagement of
   13. The communications card of claim 1, wherein the at                   at least one radio-frequency (RF) connector disposed at
least one RF communications component is configured to 45                   the first end of the communications card to align the at
communicate Radio-over-Fiber (RoF) signals.                                 least one RF connector with at least one complementary
   14. The communications card of claim 1, wherein:                         RF connector; and
   the at least one RF connector extends a first distance                further engaging the at least one digital connector with the
      beyond the first end of the PCB;                                      at least one RF connector aligned to the at least one
   the at least one digital connector extends a second distance 50          complementary RF connector to further engage the at
      beyond the first end of the PCB;                                      least one RF connector with the at least one complemen­
   the at least one complementary RF connector extends a                    tary RF connector.
      third distance beyond a first end of a second PCB;                 25. The method of claim 24, wherein the at least one RF
   the at least one complementary digital connector extends a         connector extends a first distance beyond the first end of the
      fourth distance at least as great as the third distance 55 communications card.
      beyond the first end of the second PCB; and                        26. The method of claim 25, wherein the at least one digital
   the sum of the first distance and the third distance is greater    connector extends a second distance greater than the first
      than the sum of the second distance and the fourth dis­         distance beyond from the first end of the communications
      tance.                                                          card.
   15. A communications assembly, comprising:                      60    27. The method of claim 24, wherein the at least one
   a communications board having a first end and a second             complementary digital connector and the at least one comple­
      end opposite the first end, and further comprising:             mentary RF connector are disposed in a midplane interface
      at least one radio-frequency (RF) connector disposed at         card.
         the first end of the communications board; and                  28. The method of claim 27, further comprising mounting
      at least one digital connector disposed at the first end of 65 the midplane interface card to a midplane support mounted in
         the communications board; and                                a housing configured to support the midplane interface card in
   an interface printed circuit board (PCB) card;                     a datum plane of the housing.
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   29. The method of claim 28, further comprising aligning
the midplane interface card with the midplane support to align
the communications card with the midplane support and the
housing when the at least one digital connector is engaged
with the at least one complementary digital connector dis-       5
posed in the midplane interface card.
   30. The method of claim 24, further comprising sliding the
communications card into a housing.
